Dear Cake alye-cr-go6d3_pqimefit 269,~Ghed bf,02%pg/22 in TXSD Page 1 of 2 Siig M4.
My rnty. (5% Loria Lf. ; By Btigg Ourg
/ Ce (Ce ort orrectiong| A ip. Fe 6 Ep Mey

BROQ S. Kinge M UMing Oh 7FORZ
a » h / : c ; . 8% Clery .,
Candy 73006279 shoe et 4), 7 oats Iason D "Coun
writken yo. but got no Response he has |
file mnefectve assistance of Coun we / rants a
Sample rho led In Comte Cf ground Lo, randen
Communicafe oan probleras Fy ith / 2 “re to
sy rhe, EuSAher evidence shows Hd, L RVI Son 2a/]
Hughes had a goad Ground Srast- L4 Le Dallas Craig
AVwever Cade oe Ge ee  fendy ceproved!
gee nds were” used Brank, elated jshat ho additonal
. a ample
add} 4ionol Lo atiey “F Hlog hess ‘4 ve und ed bs
retised le use. his Gre un Gand vo Lp vad Out Hack Mp Sample
an did nok : nS a |
Rocey thal Cospness ie he A vey) hed a lever shg SF frend
N-ewel~ 9°T Sent £ Re . ue // and others) mage |
Al x TRA CI panda. Lf ~. Ss) whic |
efalt Pent and (1Xf:eg d lorrvdes -/
A u-e-ek x Ja-fees- athe Oe Te cn a 4. cial]
Oe Lo. She. deadline oO f. Sand

ee) hele Mr Landy on Case. there ns ronme
Also Mr. Gandy» rrerd tAvo~ 1s . ule ZS A Aen dA]; _

38398 60.95—and.Toson Landes ~€, WE Saad — 1 3————
grat). corm, ar Ole 1 Jandy 27 @

bed Bless
J oS00 Coady 73906879 [-30 ~2d

: David Chat k vc! CbAk rast ess

| | Dated - [~30-29 7
(? lesse A low BIE to be granted 0 Neu! ARS Apes on gious

A pee of
Jas 00 G caps YiAaROE adottihent 269 ~Filed-on 02/09/22 in TXSD sReesae Of Bs “sp oy =
Cimarron Co igchon a} Facility :

4, 0 0 Sa UY {h. Ke ‘\ 95 ¢ bey - RAR f ha woh tas, : Beate ttn ca
Cyshing , 0 ok 74023

  

CONFIDENTIAL |
ae ) S p iS frict Covl 4-
we Se & S | C in US k sk

SpE CIAL é
MALL

 
